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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                          Chapter 11

YELLOW CORPORATION., et al.,                    Case No. 23-11069-CTG

                        Debtors.                (Jointly Administered)

                                                Hearing Date: Oct. 23, 2023 at 10:00 am ET
                                                Obj. Deadline: October 16, 2023 at 4 p.m. ET



                 NOTICE OF MOTION OF DONNA LEE DAUGHERTY
          FOR ORDER PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY
          CODE, BANKRUPTCY RULE 4001 AND LOCAL BANKRUPTCY RULE
               4001-1 MODIFYING THE AUTOMATIC STAY TO ALLOW
                CONTINUATION OF WRONGFUL DEATH LITIGATION

TO: (A) COUNSEL FOR THE DEBTORS; (B) COUNSEL FOR THE OFFICE OF THE
UNITED STATES TRUSTEE FOR THE DISTRICT OF DELAWARE; (C) COUNSEL
FOR THE DEBTOR-IN-POSSESSION FINANCING LENDERS; (D) COUNSEL FOR
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; AND (E) KNOWN
PARTIES HAVING AN INTEREST IN THE SUBJECT PROPERTY AS SET FORTH
IN THE ATTACHED CERTIFICATE OF SERVICE:

         PLEASE TAKE NOTICE that Donna Lee Daugherty (the “Movant”) has filed the

Motion of Donna Lee Daugherty for Order Pursuant to Section 362(d) of the Bankruptcy Code,

Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-1 Modifying the Automatic Stay to

Allow Continuation of the Wrongful Death Litigation (the “Motion”). A copy of the Motion is

attached.

         PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion are

required to be filed on or before October 16, 2023 at 4:00 p.m. (the “Objection Deadline”)

with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824 N.

Market Street, 3rd floor, Wilmington, Delaware 19801. At the same time, you must also serve a

copy of the response upon the undersigned counsel so as to be received on or before the


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Objection Deadline.

         PLEASE TAKE FURTHER NOTICE that, if an objection or response is timely filed,

served and received, and such objection or response is not otherwise timely resolved, a hearing

on the Motion will be held on October 23, 2023, at 10:00 a.m. (ET) before The Honorable

Craig T. Goldblatt, United States Bankruptcy Judge at the United States Bankruptcy Court for

the District of Delaware, 824 N. Market Street, 3rd floor, courtroom 7, Wilmington, Delaware

19801.

         PLEASE TAKE FURTHER NOTICE that pursuant to Del. Bankr. L.R. 4001-
1(c)(iii), the hearing will be a preliminary hearing at which the Court may (A) hear oral
argument, (B) determine whether an evidentiary or other final hearing is necessary, (C) set a
date by which the parties shall exchange supporting documentation, (D) set a date by which the
parties must produce the report of any appraiser whose testimony is to be presented at the final
hearing and/or (E) set a date and time for a final hearing.

     PLEASE TAKE FURTHER NOTICE THAT IF YOU DO NOT PROPERLY FILE
AND SERVE AN OBJECTION OR OTHER RESPONSE TO THE MOTION BY THE
OBJECTION DEADLINE, THE COURT MAY GRANT THE RELIEF REQUESTED IN
THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

Dated: October 5, 2023


                                            THE ROSNER LAW GROUP LLC

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